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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                                :   Chapter 11
In re:                                                          :
                                                                :   Case No. 18-10601 (MFW)
The Weinstein Company Holdings LLC, et al.,1                    :
                                                                :   (Jointly Administered)
                  Debtors.                                      :
                                                                :
                                                                :
-------------------------------------------------------------- x
HOTEL MUMBAI PTY LTD.,                                          :   Adversary Case No.: 18-50397 (MFW)
                                                                :
                                    Plaintiff,                  :
                  vs.                                           :
                                                                :
The Weinstein Company LLC, et al.,                              :
                                                                :
                                    Defendants.                 :
                                                                :
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                      NOTICE OF AGENDA OF MATTERS SCHEDULED
                      FOR HEARING ON MAY 31, 2018 AT 2:00 P.M. (ET)2

I.       CONTINUED MATTERS:

         1.        Motion of Louisette Geiss, Katherine Kendall, Zoe Brock, Sarah Ann Thomas,
                   Melissa Sagemiller, and Nannette Klatt for Relief from the Automatic Stay and
                   Related Relief [Docket No. 623 - filed April 30, 2018]

                   Objection / Response Deadline: May 24, 2018

                   Objections / Responses Received:

1
 The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of Debtors in these cases, which are being jointly administered for procedural
purposes only, a complete list of the Debtors and the last four digits of their federal tax identification numbers are
not provided herein. A complete list of this information may be obtained on the website of the Debtors’ noticing
and claims agent at http://dm.epiq11.com/twc.
2
  The hearing will be held before The Honorable Mary F. Walrath at the United States Bankruptcy Court for the
District of Delaware, 824 North Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801. Any person
who wishes to appear telephonically at the May 31, 2018 hearing must contact COURTCALL, LLC at 866-582-
6878 prior to noon (ET) on Wednesday, May 30, 2018 to register his/her telephonic appearance in accordance with
the Instructions for Telephonic Appearances Effective January 5, 2005, Revised April 27, 2009.



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                   A.     Debtors’ Objection to Motion of Louisette Geiss, Katherine Kendall, Zoe
                          Brock, Sarah Ann Thomas, Melissa Sagemiller, and Nannette Klatt for
                          Relief from Automatic Stay and Related Relief [Docket No. 930 - filed
                          May 24, 2018]

                          i.      Declaration of Karin A. DeMasi in Support of Debtors’ Objection
                                  to Motion of Louisette Geiss, Katherine Kendall, Zoe Brock, Sarah
                                  Ann Thomas, Melissa Sagemiller, and Nannette Klatt for Relief
                                  from Automatic Stay and Related Relief [Docket No. 931 - filed
                                  May 24, 2018]

                   Related Documents:

                   i.     Order Granting Motion of Louisette Geiss, Katherine Kendall, Zoe Brock,
                          Sarah Ann Thomas, Melissa Sagemiller, and Nannette Klatt to Limit
                          Notice Regarding Motion for Relief from Automatic Stay and Related
                          Relief [Docket No. 675 - entered May 2, 2018]

                   Status: The hearing on this matter is adjourned to June 5, 2018 at 2:00 p.m. (ET)

II.      MATTERS UNDER CERTIFICATION OF COUNSEL:

         2.        Application of the Official Committee of Unsecured Creditors for Order, Pursuant
                   to 11 U.S.C. §§ 328, and 1103, Fed. R. Bankr. P. 2014, and Local Rule 2014-1,
                   Authorizing and Approving the Employment and Retention of Pachulski Stang
                   Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors
                   Nunc Pro Tunc to March 28, 2018 [Docket No. 421 - filed April 24, 2018]

                   Objection / Response Deadline: May 8, 2018 at 4:00 p.m. (ET)

                   Objections / Responses Received:

                   A.     Informal response from the Office of the United States Trustee (the “U.S.
                          Trustee”)

                   Related Documents:

                   i.     Certification of Counsel Regarding Application of the Official Committee
                          of Unsecured Creditors for Order, Pursuant to 11 U.S.C. §§ 328, and 1103,
                          Fed. R. Bankr. P. 2014, and Local Rule 2014-1 Authorizing and
                          Approving the Employment and Retention of Pachulski Stang Ziehl &
                          Jones LLP as Counsel to the Official Committee of Unsecured Creditors
                          Nunc Pro Tunc to March 28, 2018 [Docket No. 937 – filed May 29, 2018]

                   Status: On May 29, 2018, the Official Committee of Unsecured Creditors (the
                           “Committee”) filed a revised form of order resolving this matter under
                           certification of counsel. Accordingly, a hearing regarding this matter is
                           necessary only to the extent the Court has any questions or concerns.
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         3.        Application for Entry of an Order Authorizing the Retention and Employment of
                   Berkeley Research Group, LLC, as Financial Advisor to the Official Committee
                   of Unsecured Creditors Nunc Pro Tunc to March 30, 2018 [Docket No. 422 - filed
                   April 24, 2018]

                   Objection / Response Deadline: May 8, 2018 at 4:00 p.m. (ET)

                   Objections / Responses Received:

                   A.     Informal response from the U.S. Trustee

                   Related Documents:

                   i.     Certification of Counsel Regarding Application for Entry of an Order
                          Authorizing the Retention and Employment of Berkeley Research Group,
                          LLC, as Financial Advisor to the Official Committee of Unsecured
                          Creditors Nunc Pro Tunc to March 30, 2018 [Docket No. 938 – filed May
                          29, 2018]

                   Status: On May 29, 2018, the Committee filed a revised form of order resolving
                           this matter under certification of counsel. Accordingly, a hearing
                           regarding this matter is necessary only to the extent the Court has any
                           questions or concerns.

         4.        Motion of the Official Committee of Unsecured Creditors for an Order Clarifying
                   the Requirements to Provide Access to Confidential or Privileged Information
                   [Docket No. 436 - filed April 26, 2018]

                   Objection / Response Deadline:       May 10, 2018 at 4:00 p.m. (ET); extended
                                                        by agreement to May 14, 2018 at 4:00 p.m.
                                                        (ET) for the Debtors

                   Objections / Responses Received:

                   A.     Informal response received from the Debtors and the U.S. Trustee

                   Related Documents:

                   i.     Certification of Counsel Regarding Motion of the Official Committee of
                          Unsecured Creditors for an Order Clarifying the Requirements to Provide
                          Access to Confidential or Privileged Information [Docket No. 939 - filed
                          May 29, 2018]

                   Status: On May 29, 2018, the Committee filed a revised form of order resolving
                           this matter under certification of counsel. Accordingly, a hearing
                           regarding this matter is necessary only to the extent the Court has any
                           questions or concerns.

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III.     UNCONTESTED MATTER GOING FORWARD:

         5.        Motion of Seyfarth Shaw LLP for an Order (I) Modifying the Automatic Stay for
                   Cause to Permit Seyfarth Shaw LLP to Recover its Fees and Disbursements
                   Under the Debtors’ Insurance Policies or, in the Alternative, (II) Determining
                   That the Coverage Under the Insurance Policies for Defense Costs is Not Property
                   of the Debtors’ Estates [Docket No. 768 - filed May 4, 2018]

                   Objection / Response Deadline: May 24, 2018 at 4:00 p.m. (ET), extended to
                                                  May 29, 2018 at 4:00 p.m. (ET) for the
                                                  Committee

                   Objections / Responses Received:

                   A.     Informal response from the Committee

                   Related Documents: None at this time.

                   Status: The hearing on this matter will go forward.

IV.      STATUS CONFERENCE ON SECURED CLAIMS AND ALLOCATION ISSUES:

         6.        Status: The hearing on this matter will go forward.

V.       HOTEL MUMBAI PTY LTD. RELATED MATTERS:

         7.        Pre-trial Conference, Hotel Mumbai Pty Ltd. v. The Weinstein Company LLC, et
                   al., Adv. Pro. No. 18-50397 (MFW)

                   Answer Deadline:      May 20, 2018, extended to June 7, 2018

                   Related Documents:

                   i.     Complaint [Adv. Docket No. 1 - filed April 16, 2018

                   ii.    [SEALED] Exhibit 1 to Complaint to be Filed Under Seal [Adv. Docket
                          No. 4 - filed April 16, 2018]

                   iii.   Amended Complaint, Hotel Mumbai Pty Ltd. v. The Weinstein Company
                          LLC, et al., Adv. Pro. No. 18-50397 (MFW) [Adv. Docket No. 10 - filed
                          April 19, 2018]

                   iv.    Amended Summons and Notice of Pretrial Conference in an Adversary
                          Proceeding [Adv. Docket No. 11 - filed April 19, 2018]




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                   v.      Stipulation Extending Time to Respond to Amended Complaint and
                           Continuing Hearing for Preliminary Injunction Motion and Sale and Cure
                           Objection [Adv. Docket No. 39 - filed May 18, 2018]

                   Status: The pre-trial conference in this matter will go forward.

         8.        Plaintiff’s Motion for Preliminary Injunction [Adv. Pro. No. 18-50397 (MFW) -
                   Docket No. 5 - filed April 17, 2018]

                   Objection / Response Deadline: May 7, 2018 at 12:00 noon (ET)

                   Objections / Responses Received:

                   A.      [SEALED] Debtors’ Objection to Plaintiff Hotel Mumbai Pty Ltd.’s
                           Motion for Preliminary Injunction [Adv. Docket No. 30 - filed May 7,
                           2018]

                   B.      [Redacted] Debtors’ Objection to Plaintiff Hotel Mumbai Pty Ltd.’s
                           Motion for Preliminary Injunction [Adv. Docket No. 31 - filed May 7,
                           2018]

                   Related Documents:

                   i.      Complaint [Adv. Docket No. 1 - filed April 16, 2018]

                   ii.     [SEALED] Exhibit 1 to Complaint to be Filed Under Seal [Adv. Docket
                           No. 4 - filed April 16, 2018]

                   iii.    Declaration of Gary Hamilton in Support of Plaintiff’s Motion for
                           Preliminary Injunction [Adv. Docket No. 6 - filed April 17, 2018]

                   iv.     Memorandum of Law in Support of Plaintiff’s Motion for Preliminary
                           Injunction [Adv. Docket No. 7 - filed April 17, 2018]

                   v.      Summons and Notice of Pretrial Conference in an Adversary Proceeding
                           [Adv. Docket No. 9 - filed April 17, 2018]

                   vi.     Amended Complaint [Adv. Docket No. 10 - filed April 19, 2018]

                   vii.    Amended Summons and Notice of Pretrial Conference in an Adversary
                           Proceeding [Adv. Docket No. 11 - filed April 19, 2018]

                   viii.   Declaration of Ronald J. Lynch in Support of Debtors’ Objection to
                           Plaintiff Hotel Mumbai Pty Ltd.’s Motion for Shortened Notice and
                           Expedited Consideration of Plaintiff’s Motion for Preliminary Injunctions
                           [Adv. Docket No. 14 - filed April 20, 2018]



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                   ix.    Declaration of Daniel R. Fellman in Support of Plaintiff’s Motion for
                          Shortened Notice and Expedited Consideration of Plaintiff’s Motion for
                          Preliminary Injunction [Adv. Docket No. 17 - filed April 23, 2018]

                   x.     Order [Granting Expedited Consideration of Plaintiff’s Motion for
                          Preliminary Injunction] [Adv. Docket No. 18 - entered April 23, 2018]

                   xi.    Stipulation Extending Time to Respond to Amended Complaint and
                          Continuing Hearing for Preliminary Injunction Motion and Sale and Cure
                          Objection [Adv. Docket No. 39 - filed May 18, 2018]

                   Status: The hearing on this matter will go forward.

         9.        Motion of Hotel Mumbai Pty Ltd. for Authority to File Under Seal Document
                   Referenced in its Complaint [Adv. Docket No. 3 - filed April 17, 2018]

                   Objection / Response Deadline: To be presented at the hearing.

                   Objections / Responses Received:     None at this time.

                   Related Documents:

                   i.     Order Granting Motion for Shortened Notice of Plaintiff’s Motion for
                          Authority to File Under Seal Document Referenced in Complaint [Adv.
                          Docket No. 22 - entered May 2, 2018]

                   ii.    Notice of Hearing Regarding Plaintiff’s Motion for Authority to File
                          Under Seal Document Referenced in Complaint [Adv. Docket No. 23 -
                          filed May 2, 2018]

                   Status: The hearing on this matter will go forward.

         10.       Debtors’ Motion in Limine to Exclude Declarations and Testimony of Gary
                   Hamilton, Mark Gill, and Daniel R. Fellman [Adv. Docket No. 27 - filed May 7,
                   2018]

                   Objections / Responses Received:

                   A.     Hotel Mumbai Pty Ltd.’s Opposition to Debtors’ Motion in Limine to
                          Exclude Declarations and Testimony of Gary Hamilton, Mark Gill, and
                          Daniel R. Fellman [Adv. Docket No. 32 - filed May 7, 2018

                   Related Documents:

                   i.     [SEALED] Debtors’ Memorandum of Law in Support of Motion in
                          Limine to Exclude Declarations and Testimony of Gary Hamilton, Mark
                          Gill, and Daniel R. Fellman [Adv. Docket No. 28 - filed May 7, 2018]


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                   ii.    [Redacted] Debtors’ Memorandum of Law in Support of Motion in Limine
                          to Exclude Declarations and Testimony of Gary Hamilton, Mark Gill, and
                          Daniel R. Fellman [Adv. Docket No. 29 - filed May 7, 2018]

                   Status: The hearing on this matter will go forward.

         11.       Objection of Hotel Mumbai Pty Ltd. to Proposed Sale of Substantially All of the
                   Debtors’ Assets and to Notice of Potential Assumption and Assignment of
                   Executory Contracts and Cure Amounts [Docket No. 569 - filed April 30, 2018]

                   Related Documents:

                   i.     Stipulation Extending Time to Respond to Amended Complaint and
                          Continuing Hearing for Preliminary Injunction Motion and Sale and Cure
                          Objection [Adv. Docket No. 39 - filed May 18, 2018]

                   Status: The hearing on this matter will go forward.

Dated: May 29, 2018
       Wilmington, Delaware
                                         /s/ David T. Queroli
                                         RICHARDS, LAYTON & FINGER, P.A.
                                         Mark D. Collins (No. 2981)
                                         Paul N. Heath (No. 3704)
                                         Zachary I. Shapiro (No. 5103)
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                                         - and -

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